Case 7:19-cr-00547-CS Document 103-3 Filed 06/29/21 Page 1 of 3




             EXHIBIT C
FILED: QUEENS COUNTY CLERK 06/04/2021 03:12 PM                                                         INDEX NO. 705768/2016
                 Case 7:19-cr-00547-CS Document 103-3 Filed 06/29/21 Page
NYSCEF DOC. NO. 169                                                       2 of 3NYSCEF: 06/04/2021
                                                                     RECEIVED




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF QUEENS
          -------------------------------------------------------------------X   Index No. 705768/2016
          Mehdi Moslem a/k/a Michael Moslem, and
          Accel Motors, Inc.,                                                    NOTICE OF MOTION TO
                                                       Plaintiffs,               STRIKE PLEADINGS AND
                                                                                 TO DISMISS PLAINTIFFS’
                           - against-                                            CLAIMS_________________

          Dante DeMartino, Drew Smith and John Doe, A Co-
          conspirator yet to be Identified,

                                                       Defendants.
          -------------------------------------------------------------------X

                     PLEASE TAKE NOTICE that upon the affirmation of Michael L. Macklowitz, Esq.,

           dated June 4, 2021, and upon all the pleadings and proceedings in this case to date, defendant

           Drew Smith will move this Court at the Central Motion Part, Courtroom 25, at 2:15 p.m. on

           Tuesday, June 29, 2021, at the Queens County Courthouse, located at 88-11 Sutphin

           Boulevard, Jamaica, New York 11435 for an order, pursuant to CPLR § 3126, (i) striking

           Plaintiffs’ pleadings; (ii) dismissing Plaintiffs’ claims in this action; (iii) prohibiting Plaintiffs from

           supporting or opposing the claims in this action; (iv) resolving the issues in this action in favor of

           Defendants; and (v) granting such other and further relief as this Court may deem just and

           proper.

                  Responsive papers if any must be served at least seven days prior to the return date.

          Dated: New York, New York
                 June 4, 2021

                                                                      Respectfully,


                                                                      __________________________
                                                                      Michael L. Macklowitz
                                                                      Attorney for Drew Smith
                                                                      299 Broadway, Suite 1405
                                                                      New York, New York 10007
                                                                      (212) 227-6655




                                                             1 of 2
FILED: QUEENS COUNTY CLERK 06/04/2021 03:12 PM                               INDEX NO. 705768/2016
                 Case 7:19-cr-00547-CS Document 103-3 Filed 06/29/21 Page
NYSCEF DOC. NO. 169                                                       3 of 3NYSCEF: 06/04/2021
                                                                     RECEIVED




          To:   Elias C. Schwartz, Esq.
                The Law Firm of Elias C. Schwartz, PLLC
                Attorney for Plaintiffs
                343 Great Neck Road
                Great Neck, New York 11021
                (516) 487-0175

                Seth Ginsberg
                Attorneys for Defendant Dante DeMartino
                299 Broadway, Suite 1405
                New York, New York 10007
                (212) 227-6655




                                                     2

                                                  2 of 2
